        Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 1 of 11



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JEROME DUVALL, et al.,                                *

               Plaintiffs,                            *

v.                                                    *               Civil No. MJM-94-2541

WES MOORE, et al.,                                    *

               Defendants.                            *

*      *       *       *    *    *    *    *   *    *   *                             *       *
                      THE STATE’S SECOND QUARTERLY REPORT

       Wes Moore, Governor of the State of Maryland, Carolyn J. Scruggs, Secretary

(“Secretary”) of the Department of Public Safety and Correctional Services (the “DPSCS”), and

Cleveland C. Friday, Commissioner (“Commissioner”), Division of Pretrial Detention and

Services (the “DPDS,”) (the Secretary, DPSCS, the Commissioner, and DPDS are collectively

referred to as the “State”), hereby submit this Second Quarterly Report in response to the Order

directing the State to report specific categories of information (the “Quarterly Report Order”)

entered by the Court on June 23, 2023 (Doc. No. 792). As mandated by the Quarterly Report

Order, the State submits the following:

                                          INTRODUCTION

       The State continues to routinely evaluate its continuing efforts to ensure compliance with

the Settlement Agreement (Doc. No. 541-2) currently under monitoring by this Court. As part of

the State’s evaluation, it continues to confirm compliance efforts surrounding the provision of

health care to the incarcerated population within its Baltimore Central Booking & Intake Center

(“BCBIC”) and the Metropolitan Transition Center (“MTC”) Infirmary. Progress in the provision

of mental health care continues due, in large part, to the collaborative efforts of the State’s mental


                                                  1
         Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 2 of 11



health leadership, the efforts of the contracted mental health provider and Dr. Jeffrey Metzner.

The State and its contracted medical provider faced various challenges with the medical

monitoring process prior to the resignation of Dr. Michael Puisis in December 2023. (ECF 834).

The State described these challenges in prior filings, specifically ECF documents 818 and 828.

The State maintains that its concerted efforts to improve medical care for the incarcerated

population at BCBIC and the MTC Infirmary demonstrate greater levels of compliance than

reported and, in fact, that the provision of healthcare by the State at BCBIC and MTC Infirmary

meet, and often exceed, all thresholds for the provision of constitutional medical and mental health

services, thereby demonstrating its substantial compliance, as defined in Paragraph 39, with all

provisions of the Settlement Agreement.

         As directed by the Court, the information set forth below covers the period beginning on

September 30, 2023 and ending March 31, 2024. 1

                CHANGES IN THE ANTICIPATED MONTH AND YEAR OF COMPLIANCE

         As set forth above, the State firmly believes that the current circumstances at BCBIC and

MTC Infirmary reflect a constitutional level of care. However, predicting when all of the parties

and the monitors will agree on the level of care provided by the State at these facilities remains

nearly impossible, particularly due to the uncertainties surrounding the appointment and

confirmation of the new medical monitor, the methodologies and monitoring practices to be

implemented by the new medical monitor, and the effect of the new medical monitor upon

projected compliance dates in light of historical monitoring concerns. Despite these uncertainties,

the State believes in good faith that the medical and mental health care at BCBIC and MTC

Infirmary are currently compliant with, if not exceeding, the terms of the Settlement Agreement


1
 Dr. Puisis’s resignation as the medical monitor resulted in a temporary stay of the Quarterly Reporting requirements.
This Quarterly Report thus encompasses two quarters as set forth in the Court’s Order of April 18, 2024 (ECF 868).


                                                          2
        Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 3 of 11



and do not place the individuals incarcerated at BCBIC and MTC Infirmary at any significant

threat of serious injury.

        On April 22, 2024, the mental health monitor provided to the Parties his final compliance

report for the period of July 2023 to December 2023. Notwithstanding and without waiver of

Defendants’ right to object to the mental health monitor’s findings as provided in ¶ 41 of the

Settlement Agreement, the mental health monitor found the State in substantial compliance with

all portions of the Settlement Agreement relating to mental health care, except the following:

        •       17(c) – Partial Compliance. The Commissioner implemented a
                Corrective Action Plan in November 2023, which generated data
                demonstrating improved compliance.

        •       25(a) – Partial Compliance, per Dr. Metzner who found
                “Compliance was present during the month of December 2023.”

        •       25(b) – Partial Compliance, per Dr. Metzner. BCBIC staff are
                currently conducting a Quality Improvement (“QI”) study, which
                was approved by Dr. Metzner in January 2024. The audit process
                began in February 2024 the Partial Compliance rating by Dr.
                Metzner was based upon his chart reviews conducted during the
                March 2024 site visit relating to the July – December 2023
                monitoring period.

        •       25(f)(i) – Partial Compliance, but “Compliance was present for the
                month of December 2023.”

        •       25(f)(iv) – Partial Compliance, but “Compliance [was present]
                during the month of December 2023.”

Additionally, the mental health monitor deferred assessment of the following provisions pending

the appointment and confirmation of the new medical monitor: 17(a), 17(d), 17(e), and 24(a).

        As demonstrated by the mental health monitor’s report, compliance with all mental health

provisions of the Settlement Agreement currently exists and persists. The State anticipates the

mental health monitor will find full compliance in the next monitoring period with nearly all sub-

paragraphs of the Agreement pertaining to mental health.



                                                3
        Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 4 of 11



       The State remains unable to predict with any degree of confidence the prospective dates

when the monitor and all parties will agree that the State achieved compliance with medical

provisions until the new medical monitor submits his first monitoring report, though the State

submits that it firmly believes that substantial compliance currently exists with respect to medical

care at BCBIC.

                       MOST SIGNIFICANT OBSTACLES TO COMPLIANCE

       The State continues to actively evaluate the obstacles to addressing the issues or concerns

raised by Plaintiffs and/or the monitors and actively take steps to address those concerns. As of

the date of this filing, the various personnel employed or contracted with the State involved in

compliance with the Settlement Agreement maintain that the prior timeline submitted to the Court

identifies most of the “barriers” to satisfaction of the monitors’ requirements and/or

recommendations. The State also believes that the medical monitoring process utilized by the

prior medical monitor created unnecessary confusion and delays in reaching compliance. The

State hopes that the new medical monitor will fairly assess the delivery of medical care at BCBIC

and the MTC Infirmary, and, utilizing his/her independent clinical judgment, find that the State

has complied with the terms of the Settlement Agreement.

                         PROGRESS IN ASSIGNING ON-SITE PERSONNEL
                            AT BCBIC TO COMPLIANCE EFFORTS

       DPSCS undertook a review of the Court’s prior transcript, the Settlement Agreement and

the current state of its management of medical operations at BCBIC in evaluating the medical

monitor’s request that DPSCS appoint a dedicated site medical director for BCBIC. First, it is

now clear that the medical monitor’s recommendation arises from an erroneous understanding on

the part of the medical monitor. Contrary to the medical monitor’s statements to the Court, both

Dr. Lynda Bonieskie and Dr. Oscar Jerkins serve as DPSCS’s statewide Director of Mental Health



                                                 4
        Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 5 of 11



and Chief Medical Director, respectively. Both of these individuals actively participate and

oversee all versions of auditing and monitoring of services at BCBIC, though not assigned on a

full-time basis to this facility. Moreover, the medical monitor failed to account for and credit the

robust monitoring and auditing system installed by the current medical provider that produces the

myriad of audit results that the medical monitor always relies upon in his bi-annual reviews. To

substantiate the medical provider’s audit results, DPSCS’ Deputy Director of Clinical Services,

Dr. Contah Nimely, MD, supervises compliance efforts at BCBIC, guiding the Department’s

Agency Contract Operations Managers (ACOMs) – RNs assigned to oversee clinical operations

and compliance with DPSCS policy – in providing on-site management of clinical processes, and

vendor-conducted audits and monitoring.

        Secondly, the recommendation from the prior medical monitor that DPSCS appoint a

dedicated on-site medical director for BCBIC reflects another instance of the medical monitor

attempting to impose additional performance obligations on the State outside of the Settlement

Agreement. DPSCS has never employed a dedicated site medical director for BCBIC at any time.

When the parties settled this matter, the State never agreed and Plaintiffs never demanded the

creation of such a position. Moreover, the employment of an on-site medical director specific to

BCBIC contradicts the healthcare delivery model employed by the State in delivering healthcare

to its incarcerated population, which constitutes a contracted function under the medical

supervision of the contractor. Employing site-specific medical staff, as suggested by the medical

monitor, defies this long-standing structure for the delivery of healthcare to the incarcerated

population across the State of Maryland, which is consistent with the model used in jurisdictions

across the country. Notwithstanding these objections to the prior medical monitor’s

recommendations, the DPDS Deputy Commissioner consistently served as the compliance




                                                 5
            Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 6 of 11



coordinator, overseeing efforts and processes for compliance with the Settlement Agreement. 2

                              NAMES AND TITLES OF DPSCS EMPLOYEES
                          RESPONSIBLE FOR PROMOTING DUVALL COMPLIANCE 3

           Myriad employees of DPSCS, along with various employees of contracted service

providers as described above, actively participate in and promote compliance with the Settlement

Agreement. Considering the breadth of issues and resources necessary to achieve compliance,

nearly every employee of DPSCS who is stationed at or oversees operations of BCBIC must

incorporate aspects of Duvall compliance efforts into their job responsibilities. Specifically,

though not their “primary responsibilities,” the following employees actively and consistently

engage in monitoring and compliance efforts: Deputy Secretary of Operations; Chief Medical

Director; Deputy Director of Clinical Services; Director of Mental Health; Deputy Director of

Mental Health; Assistant Secretary for Programs, Treatment and Reentry Services; and

Commissioner of DPDS.

           The following employees’ primary job responsibilities involve promoting compliance with

the Settlement Agreement:

           (1)      Kelvin L. Harris, Deputy Commissioner of DPDS (Promoted to
                    current role October 4, 2023);

           (2)      Akisha Price, Director of Health Services and Duvall Compliance
                    (Hired October 19, 2022);

           (3)      Holly Turner, Deputy Director of Health Services and Duvall
                    Compliance (Hired 2012; Assigned to current role April 11, 2022);

           (4)      Tyrell A. Wilson, Sr., Warden of BCBIC (Assigned to BCBIC April
                    3, 2023);

           (5)      Nate’ Denton, Assistant Warden of BCIBC (Responsible for
                    Programs and Services, including Medical and Mental Health


2
    Kelvin L. Harris is the current Deputy Commissioner of DPDS.
3
    This is the first Quarterly Report for which the State provides this information. See ECF 792, ¶ 4 and ECF 868.


                                                           6
          Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 7 of 11



                 Services) (Promoted to current role May 31, 2023); and

          (6)    Kathleen J. Landerkin, Warden of MTC (Transferred from another
                 facility to MTC December 13, 2023). Warden Landerkin replaced
                 Warden Debora Darden, who resigned on November 1, 2023.

DPSCS will continue to retain and appoint individuals to ensure adequate staffing and supervision

for Duvall compliance activities.

                    APPROPRIATIONS AND EXPENDITURES FOR COMPLIANCE 4

          DPSCS does not track specific expenditures related to Duvall compliance separate from

other departmental costs and expenses. Moreover, given the breadth of the issues addressed in the

Settlement Agreement, DPSCS historically incurred various expenses (such as personnel expenses

for compliance staff and contract costs related to medical and mental health care) that existed prior

to the Settlement Agreement, but could certainly be lumped into the category of Duvall

compliance. Thus, dissecting Departmental expenses, which are general operating costs, from

those directly related to Duvall compliance efforts is an arduous and nearly impossible task. In

addition, the scope of the Settlement Agreement and the requirements and recommendations of

the monitors are such that Duvall compliance affects nearly every aspect of operations at BCBIC.

          The Settlement Agreement touches on nearly every aspect of medical and mental health

care provided to incarcerated individuals at BCBIC – intake screening; medication initiation,

monitoring, and management; plan of care creation and monitoring; laboratory testing;

management, policy-making, and oversight; physical accommodations for mobility and housing;

air conditioning; chronic and specialty care; sick call; medical records; assessments and referrals;

and sanitation, pest control, and maintenance. (ECF 541-2 at ¶¶ 16–26). Identification of

expenditures and appropriations which directly relate to the requirements of the Settlement



4
    Id.


                                                 7
          Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 8 of 11



Agreement could rationally encompass most of the appropriations for BCBIC ($83 million) and

MTC ($68 million) for the 2024 fiscal year.

          Despite the administrative considerations discussed above, DPDS staff, with the assistance

of counsel, reviewed the departments’ financial records in attempts to identify major expenditures

related to Duvall compliance for the relevant period of July through December 2023.                As

demonstrated in prior pleadings (see, e.g., ECF 827, 833), the medical monitor took particular

interest in the functionality of the electronic patient health records during the relevant period. The

State paid $1,615,544.21 to NextGen, the software provider of the EPHR, to modify and revise the

electronic record software in accordance with the medical monitor’s recommendations. The State

incurred costs of $96,264.65 for medical and mental health monitoring services during the relevant

period.

          While these expenditures indicate a portion of the costs directly related to Duvall

compliance efforts, other costs cannot be precisely measured. For example, because physical plant

improvements, sanitation, and pest control are ongoing operating costs, the State cannot accurately

determine what portion of these expenditures are fairly attributable to Duvall compliance.

Likewise, medical and mental health care expenses are ongoing and required operating costs

distinct from efforts to comply with the Settlement Agreement and/or monitor recommendations.

          WHEREFORE, PREMISES CONSIDERED, the State submits the above information as

evidence of its continuing good faith efforts to comply with the terms and conditions of the

Settlement Agreement (Doc. No. 541-2) executed among the parties in this action.




                                                  8
Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 9 of 11




Dated: May 15, 2024.

                                                            for
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                              9
Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 10 of 11



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                              10
       Case 1:94-cv-02541-MJM Document 879 Filed 05/15/24 Page 11 of 11



                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served upon all attorneys of record
in this matter, including without limitation the following, by the Court’s CM/ECF system and/or
U.S. Mail on this 15th day of May, 2024:

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                                               11
